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      ~AO 245B (CASD) (Rev 4114)   Judgment In a Criminal Case                                                                       FILED
                  Sheet I

                                                                                                                                      JUI~       ZJ t1 LU10

                                              UNITED STATES DISTRICT COURT
                                                                                                                             eu rtl-( US l)IS I Hie I COLIRT
                                                  SOUTHERN DISTRICT OF CALIFORNIA                                        SOUTHl:.HN D!STHICT OF Ct'I,Lli'ORNIA
                                                                                                                         BY          _          ,. r-l ' ~)FPUTY

                        UNITED STATES OF AMERICA                                     JUDGMENT IN A CRIMINAL CASE
                                        v.                                           (For Offenses Committed On or After November 1, 1987)

                       Ashley Samantha Nicole Thomas -I                              Case Number: 16-cr-00200-JAH-I

                                                                                     Victor Manuel Torres
                                                                                     Defendant's Attorney
      REGlSTRAnON NO. 51862298

      D
      THE DEFENDANT:
      181 pleaded guilty to count(s) ..:o:,.::n:.:.,e_o_f_th_e..:.,I..:.,n_fo_rmat_io_n_._
                                                                             __            _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

      D     was found guilty on count(s)_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
            after a plea of not guilty.
            Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense( s):
                                                                                                                                             Count
      Title & Section                        Nature ofOtTense                                                                               Number(s)
8:1324(a)(1 )(A)(ii),                  Transportation of Certain Aliens for Financial Gain                                                   1
(v)( (II),( a)( 1)(B)( i)




          The defendant is sentenced as provided in pages 2 through              3          ofthis judgment. The sentence is imposed pursuant
 to the Sentencing Reform Act of 1984.
  D    The defendant has been found not guilty on count(s) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

  D    Count(s)_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ is DareD dismissed on the motion of the United States.
  181 Assessment: $100.00.

  181 No fine                                       D    Forfeiture pursuant to order filed _ _ _ _ _ _ _ _ _ , included herein.
       IT IS ORDERED that the defendant shall notifY the United States Attorney for this district within 30 days of any change of name, residence,
 or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
 defendant shall notifY the court and United States Attorney of any material change in the defendant's economic circumstances.

                                                                               J ne 20,2016




                                                                                                                                           16-cr-00200-JAH-l
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     AO 245B (CASD) (Rev.4/14) Judgment in a Criminal Case
                Sheet 2 -- Probation
                                                                                                                  Judgment Page        2     of       3
     DEFENDANT: Ashley Samantha Nicole Thomas -I                                                            D
     CASE NUMBER: 16-c:r-00200-JAH-l
                                                                        PROBATION
     The defendant is hereby sentenced to probation for a term of:
      Three years.

     The defendant shall not commit another federal, state, or local crime.
     For offlmses committed on or after September 13, 1994:
     The defendant shall not illegally possess a controlled substance. The defendant shall refrain ~om any unlawful use or a 70ntrolled
     substance. The defendant shall submit to one drug test within 15 days of placement on probatiOn and at least two penodlc drug te~ts
     thereafter as determined by the court. Testing requirements will not exceed submission of more than_4_drug tests per month durmg
     the term of supervision, unless otherwise ordered by court.
     D The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
             future substance abuse. (Check, if applicable.)
             The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
             The defendant shall cooperate in the collection ofa DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
             Backlog Elimination Act of 2000, pursuantto 18 USC sections 3563(a)(7) and 3583(d).
             The defendant shall comply with tlie requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.) as directed
             by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides, works, is a student, or
             was convicted ofa qualifying offense. (Check if applicable.)
     D       The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
                If this judgment imposes a fine or restitution obligation, it is a condition of probation that the defendant pay any such fine or
      restitution in accordance with the Schedule of Payments sheet of this judgment.
              The defendant shaH comply with the standard conditions that have been adopted by this court (set forth below). The defendant shall
      also comply with the special conditions imposed.

                                             STANDARD CONDITIONS OF SUPERVISION
        1)     the defendant shall not leave the judicial district without the permission of the court or probation officer;
        2)     the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
        3)     the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
        4)     the defendant shall support his or her dependents and meet other family responsibilities;
        5)     the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
               acceptable reasons;
        6)     the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
        7)     the defendant shaH refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled
               substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
        8)     the defendant shall not frequent places where controlled substances are ilIega11y sold, used, distributed, or administered;
        9)     the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
               a felony, unless granted permission to do so by the probation officer;
       10)     the defendant shaH permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of
               any contraband observed in plain view of the probation officer;
       II)     the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement
               officer;
       12)     the defendant shaH not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
               permission of the court; and
       13)     as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's
               criminal record or personal history or characteristics and sha11 permit the probation officer to make such notifications and to confirm
               the defendant's compliance with such notification requirement.



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       AO 245B (CASD) (Rev. 4/14) Judgment in a Criminal Case
                  Sheet 3 Special Conditions
                                                                                                         Judgment   Page   ---l- of _--,,-3_ _
       DEFENDANT: Ashley Samantha Nicole Thomas -I
       CASE NUMBER: 16-cr-00200-JAH-l




                                             SPECIAL CONDITIONS OF SUPERVISION
I8l Submit person, property, residence, office or vehi~l~ to a search, conducte~ by a United. Stat~s Probation ~fficer at a reaso~able time an~ in
    a reasonable manner, based upon reasonable SuspICIOn of contraband or eVidence of a vIOlatIOn of a conditIOn of release; failure to submIt to
    a search may be grounds for revocation; the defendant shall warn any other residents that the premises may be subject to searches pursuant to
    this condition.
D If deported, excluded, or allowed to voluntarily return to country of origin, not reenter the United States illegally and report to the probation
    officer within 24 hours of any reentry to the United States; supervision waived upon deportation, exclusion or voluntary departure.
D Not transport, harbor, or assist undocumented aliens.
D Not associate with undocumented aliens or alien smugglers.
D Not reenter the United States illegally.
I8l Not enter the Republic of Mexico without written permission of the Court or probation officer.
I8l Report all vehicles owned or operated, or in which you have an interest, to the probation officer.
D Not possess any narcotic drug or controlled substance without a lawful medical prescription.
D Not associate with known users of, smugglers of, or dealers in narcotics, controlled substances, or dangerous drugs in any form.
D Participate in a program of mental health treatment as directed by the probation officer, take all medications as prescribed by a
    psychiatrist/physician, and not discontinue any medication without permission. The Court authorizes the release of the presentence report
    and available psychological evaluations to the mental health provider, as approved by the probation officer. Allow for reciprocal release of
    information between the probation officer and the treatment provider. May be required to contribute to the costs of services rendered in an
    amount to be determined by the probation officer, based on the defendant's ability to pay.
D Take no medication containing a controlled substance without valid medical prescription, and provide proof of prescription to the probation
  officer, if directed.
D Provide complete disclosure of personal and business financial records to the probation officer as requested.
D Be prohibited from opening checking accounts or incurring new credit charges or opening additional lines of credit without approval of the
    probation officer.
D Seek and maintain full time employment andlor schooling or a combination of both.
D Resolve all outstanding warrants within         days.
D Complete           hours of community service in a program approved by the probation officer within
D Reside in a Residential Reentry Center (RRC) as directed by the probation officer for a period of
D Participate in a program of drug or alcohol abuse treatment, including urinalysis or sweat patch testing and counseling, as directed by the
    probation officer. Allow for reciprocal release of information between the probation officer and the treatment provider. May be required to
    contribute to the costs of services rendered in an amount to be determined by the probation officer, based on the defendant's ability to pay.

D Comply with the conditions of the Home Confinement Program for a period of 12 months and remain at your residence except for
     activities or employment as approved by the court or probation officer. Wear an electronic monitoring device (GPS passive), and follow
     procedures specified by the probation officer. Pay the total cost of electronic monitoring services, or a portion if deemed appropriate by the
     probation officer.




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